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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                               )    Chapter 11
                                                         )
    RTI HOLDING COMPANY, LLC, et                         )    Case No. 20-12456 (JTD)
    al.1                                                 )
                                                         )    (Jointly Administered)
                                        Debtors.         )
                                                         )    Ref. Docket Nos. 689, 725

                                                         )
    RUBY TUESDAY, INC.,                                  )
                                                         )        Ad. Proc. No. Case No. 20-51045 (JTD)
                                  Plaintiff.             )
        vs.                                              )
    EVERGREEN DEVELOPMENT                                )
    COMPANY, L.L.C.,                                     )
                                                         )
                                 Defendant.


                                            AFFIDAVIT OF SERVICE

STATE OF CONNECTICUT )
                     ) ss.:
COUNTY OF MIDDLESEX )

ANGHARAD BOWDLER, being duly sworn, deposes and says:




1The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are as follows:
RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD,LLC (6505); RT of Carroll
County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC (8738); RT Distributing, LLC (6096); RT
Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity, LLC (7159); RT Franchise Acquisition, LLC (1438);
RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC
(7020); RT Kentucky Restaurant Holdings, LLC (7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC
(4072); RT of Maryland, LLC (7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT
Minneapolis Franchise, LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New
Hampshire Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817); RT Orlando
Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535); RT Southwest Franchise,
LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT Western Missouri Franchise, LLC
(6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT Texas, Inc. (2461); RTTT, LLC (9194); Ruby
Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant, Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby
Tuesday of Frederick, Inc. (4249); Ruby Tuesday of Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby
Tuesday of Pocomoke City, Inc. (0472); Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432).
The Debtors’ mailing address is 333 East Broadway Ave., Maryville, TN 37804.
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1. I am employed as a Director of Client Services by Epiq Corporate Restructuring, LLC, with
   their principal office located at 777 Third Avenue, New York, New York 10017. I am over
   the age of eighteen years and am not a party to the above-captioned action.

2. On December 15, 2020, I caused to be served the:

     a. “Scheduling Order Re: Abatement Litigation,” dated December 9, 2020, [Docket No.
        689],

     b. “Complaint for Declaratory Relief,” dated December 14, 2020, [Docket No. 725], and

     c. “Summons and Notice of Pretrial Conference in an Adversary Proceeding,” dated
        December 14, 2020, to which was attached the “Notice of Dispute Resolution
        Alternatives,” dated December 14, 2020, a copy of which is attached hereto as Exhibit
        A,

   by causing true and correct copies to be:

      i.   enclosed securely in separate postage pre-paid envelopes and delivered via first class
           mail to those parties listed on the annexed Exhibit B,

     ii.   enclosed securely in separate postage pre-paid envelopes and delivered via overnight
           mail to those parties listed on the annexed Exhibit B,

    iii.   delivered via electronic mail to those parties listed on the annexed Exhibit C.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                  /s/ Angharad Bowdler
                                                                  Angharad Bowdler

Sworn to before me this
17th day of December, 2020
/s/ Amy E. Lewis
Notary Public, State of Connecticut
Acct. No. 100624
Commission Expires: 8/31/2022
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                    Exhibit A
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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11
RTI HOLDING COMPANY, LLC, et al.,                           Case No. 20-12456 (JTD)
                                                            (Jointly Administered)
                 Debtors.
RUBY TUESDAY, INC.,
                                                            Adv. Proc. No. 20-51045 (JTD)
                        Plaintiff,
        v.

EVERGREEN DEVELOPMENT COMPANY, L.L.C.,

                        Defendant.

          SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the
clerk of the bankruptcy court no later than January 15, 2021, pursuant to the Scheduling Order Re: Abatement Litigation [Main
Case Dkt. No. 689].

                   Address of Clerk:         United States Bankruptcy Court
                                             824 North Market Street, 3rd Floor
                                             Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the Plaintiff’s attorney. Name and address of
Plaintiff’s attorneys:

                                        PACHULSKI STANG ZIEHL & JONES LLP
                                                   Richard M. Pachulski
                                                      Malhar S. Pagay
                                                     James E. O’Neill
                                                   Victoria A. Newmark
                                       919 N. Market Street, 17th Floor, P.O. Box 8705
                                        Wilmington, DE 19899-8705 (Courier 19801)

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be held at
the following time and place.
                           Address: United States Bankruptcy Court     Courtroom No. 5
                           824 N. Market Street, 5th Floor
                           Wilmington, DE 19801                        Date and Time: Jan. 28, 2021 at 11:00 a.m. (ET)

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO
ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST
YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

United States Bankruptcy
Court for the District of Delaware
                                                     /s/ Una O’Boyle
Date: December 14, 2020                              Clerk of the Bankruptcy Court




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                                     CERTIFICATE OF SERVICE

I, James E. O’Neill, certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made. I further certify
that the service of this summons and a copy of the complaint were made December 14, 2020 by:


        Mail Service: Overnight mail, postage fully pre-paid, addressed to:

                                   SEE ATTACHED SERVICE LIST

        Personal Service: By leaving the process with defendant or with an officer or agent of defendant
        at:


        Residence Service: By leaving the process with the following adult at:


        Certified Mail Service on an Insured Depository Institution: By sending the process by certified
        mail addressed to the following officer of the defendant at:


                                   SEE ATTACHED SERVICE LIST

        Publication: The defendant was served as follows: [Describe briefly]


        State Law: The defendant was served pursuant to the laws of the State of ___________________,
        as follows: [Describe briefly]                                                  (name of state)

        Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: December 14, 2020                                  /s/ James E. O’Neill
                                                          James E. O’Neill (DE Bar 4042)
                                                          PACHULSKI STANG ZIEHL & JONES LLP
                                                          919 North Market Street, 17th Floor
                                                          P O Box 8705
                                                          Wilmington, DE 19899-8705 (Courier 19801)




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Adv. Service List

VIA FIRST CLASS MAIL & OVERNIGHT MAIL
Evergreen Development Company, L.L.C.
C/O Stephen W. Brewer, Esq., as Registered Agent
Willcox & Savage, P.C.
440 Monticello Avenue, Ste. 2200
Norfolk, Virginia 23510

VIA FIRST CLASS MAIL & OVERNIGHT MAIL
Evergreen Development Company, L.L.C.
c/o Mr. Robert J. Kubicki
29027 Brassie Court
Ivanhoe, IL 60060

Courtesy copy via Electronic Mail:
Stephen W. Brewer, Esq.
Re: Evergreen Development Company, L.L.C.
Willcox & Savage, P .C.
1800 Bank of America Center
Norfolk, Virginia 23510
Email: sbrewer@wilsav.com




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                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                FOR THE DISTRICT OF DELAWARE

In re:                                                                   Chapter 11
RTI HOLDING COMPANY, LLC,1                                               Case No. 20-12456 (JTD)
                Debtors.                                                 (Jointly Administered)
RUBY TUESDAY, INC.,
                                                                         Adv. Proc. No. 20-51045 (JTD)
                                Plaintiff,
          v.

EVERGREEN DEVELOPMENT COMPANY,
L.L.C.,
              Defendant.
                                       NOTICE OF DISPUTE RESOLUTION ALTERNATIVES

        As party to litigation you have a right to adjudication of your matter by a judge of this Court. Settlement of your
case, however, can often produce a resolution more quickly than appearing before a judge. Additionally, settlement can
also reduce the expense, inconvenience, and uncertainty of litigation.

        There are dispute resolution structures, other than litigation, that can lead to resolving your case. Alternative Dispute
Resolution (ADR) is offered through a program established by this Court. The use of these services are often productive
and effective in settling disputes. The purpose of this Notice is to furnish general information about ADR.

        The ADR structures used most often are mediation, early-neutral evaluation, mediation/arbitration and arbitration.
In each, the process is presided over by an impartial third party, called the “neutral”.

         In mediation and early neutral evaluation, an experienced neutral has no power to impose a settlement on you. It
fosters an environment where offers can be discussed and exchanged. In the process, together, you and your attorney will
be involved in weighing settlement proposals and crafting a settlement. The Court in its Local Rules requires all ADR
processes, except threat of a potential criminal action, to be confidential. You will not be prejudiced in the event a settlement
is not achieved because the presiding judge will not be advised of the content of any of your settlement discussions.

        Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful, agree that the mediator
will act as an arbitrator. At that point, the process is the same as arbitration. You, through your counsel, will present
evidence to a neutral, who issues a decision. If the matter in controversy arises in the main bankruptcy case or arises from
a subsidiary issue in an adversary proceeding, the arbitration, though voluntary, may be binding. If a party requests de novo
review of an arbitration award, the judge will rehear the case.

      Your attorney can provide you with additional information about ADR and advise you as to whether and
when ADR might be helpful in your case.

    Dated: December 14, 2020                                                 /s/ Una O’Boyle
                                                                             Clerk of the Court

1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are as follows: RTI Holding Company, LLC (4966);
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England Franchise, LLC (4970); RT New Hampshire Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
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(4249); Ruby Tuesday of Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472); Ruby Tuesday of
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                    Exhibit B
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          RTI HOLDING COMPANY, LLC - Case No. 20-12456 (JTD)
                         Additional Parties


EVERGREEN DEVELOPMENT COMPANY, L.L.C.
C/O STEPHEN W. BREWER, ESQ.
WILLCOX & SAVAGE, P.C.
440 MONTICELLO AVENUE, STE. 2200
NORFOLK, VIRGINIA 23510

EVERGREEN DEVELOPMENT COMPANY, L.L.C.
C/O MR. ROBERT J. KUBICKI
29027 BRASSIE COURT
IVANHOE, IL 60060
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                     Exhibit C
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                  RTI HOLDING COMPANY, LLC, et al.
                        Case No. 20-12456 (JTD)
                       Electronic Mail Service List


NAME                                EMAIL
WILLCOX & SAVAGE, P .C.             SBREWER@WILSAV.COM
JONES, BLECHMAN, WOLTZ & KELLY      MMEADOWS@JBWK.COM




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